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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

STATE OF LOUISIANA

vo NT ~ TS4 DIVISION Cy _ \ \

RODERICK HICKMAN
VERSUS
GREAT WEST CASUALTY COMPANY, HIRSCHBACH MOTOR LINES, INC,
and SAMUEL TAYLOR
FILED: _.
DEPUTY CLERK

PETITION FOR DAMAGES

The petition of RODERICK HICKMAN, a person of the full age of majority and

resident of St. Tammany Parish, respectfully represents:
I.

Defendants are:

GREAT WEST CASUALTY COMPANY, a domestic / foreign insurer licensed to and
doing business in the State of Louisiana;

HIRSCHBACH MOTOR LINES, INC., a domestic / foreign corporation licensed to
and doing business in the State of Louisiana: and

SAMUEL TAYLOR, a person of the full age of majority and resident of Mercer County,
West Virginia,

2.

Defendants are linble and indebted to Plaintiff for such damages as are reasonable in the
premises, including property damage, past physical pain and suffering. future physical pain and
suffering, past mental pain and suffering, future mental pain and suffering, medical expenses,
loss of cammings, future loss of carning capacily, and permanent disability to the bady, loss of
consortium together with legal interest thereon from date of judicial demand, until paid, and for

all costs of these proceedings, for the following: — EXHIBIT "

 
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3.

On or about Septeatber i, 2016, an accident occurred on Old Gentilly Road near Desire
Parkway in New Orleans. A vehicle owned by Brandon Batiste and occupied by Plaintiff
RODERICK HICKMAN was lawfully traveling Westbound on Old Gentilly Road in the
lefimost lane of lravel. A vehicie operated by Defendant SAMUEL TAYLOR was traveling
Westbound on Old Gentilly Road in the rightmost lane of travel. SAMUEL TAYLOR
negligently made a wide right tum, infringed on the center lane, and struck the vehicle occupied
by Plaintiff, causing him severe and disabling injurics.

4, .
The sole and proximate cause of the above referenced accident was the negligence and

fault of the Defendant, SAMUEL TAYLGR, which is attributed to but nat limited to the

following non-exclusive particulars:

a) Failure to see what a reasonable driver should have seen;

b) Failure to keep a good and careful lookout;

} Failure to maintain reasonable and proper control while operating the vehicle;

d) Driving al a speed greater than was reasonable and prudent under the
circumstances;

c} Operating the vehicle in a careless and reckless manner without regard for the

safety of others;
f) Any and all other acts of negligence which may be proven at the trial of this
matter.
5,
AS a result of the above referenced accident and negligence of the defendant, Plaintiff

suffered severe and disabling injuries and is entitled to recover such damages as are reasonabic in

the premises.
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6.

Atall relevant times, GREAT WEST CASUALTY COMPANY provided a policy of
liability insurance on the vehicle owned by Defendant HIRSCHBACH MOTOR LINES, INC.
and operaied by Defendant SAMUEL TAYLOR, on the date of this accident, which provided
coverage for the type of loss sued upon, thus rendering GREAT WEST CASUALTY
COMPANY. Hable to Petitioner with the other named Defendants.

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On information and belicf, at all relevant times SAMUEL TAYLOR was acting in the
course and scope of employment with HIRSCHBACH MOTOR LINES, INC., or acting ona
mission or errand or on behalf of HIRSCHBACH MOTOR LINES, ENC., thus rendering
fUIRSCHBACH MOTOR LINES, INC. liable to Plaintiff along with all other named
Defendants.

Therefore, Petitioner prays that Defendants be duly cited and served with a copy of this
PetHion and, alicr all due proceedings are had, there be a judgment in favor of Petitioner and
against the Delondants, jointly and in solido in amounts as are reasonable in the premises,
including but not limited to, past physical pain and suffering, fulure physical pain and suffering,
past mental pain and suffering, future mental pain and suffering, rental expenses, property
damage, loss of use and/or depreciation of vehicle, past and fiiture medical expenses, loss of past

and {inure earnings, loss of future earning capacity, permanent disability of the body, loss of

consortium, loss of enjoyment of life, and penaltics and attorney's fees, together with legal

interest ihereon from date of judicial demand, until paid, and for all costs of these procecdings.

Petitioner prays for all general and equitable relief.
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—, ~~

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PLEASE SERVE:

SAMUEL TAYLOR

Through The Louisiana Lone-Arm Statute:
661 Pine Branch PI.

Princeton, WV 24739

HIRSCHBACH MOTOR LINES, INC.
Through The Louisiana Long-Arm Statute:
270 East Grant St,

Blair, NE 68008

and

Through The Louisiana Long Arm-Statate:
Through {ts Agent For Service:

Brian R. Kohlwes

18355 US Highway 20 W

East Dubuque, IL 61025

GREAT WEST CASUALTY COMPANY
Through tts Registered Agent For Service:
The Louisiana Secretary Of State

8585 Archives Ave.

Baton Rouge, LA 70809
